
5 N.Y.2d 945 (1959)
Bertrand E. Moebus, Appellant,
v.
Paul Tishman Co., Inc., et al., Respondents, et al., Defendant.
Court of Appeals of the State of New York.
Argued January 21, 1959.
Decided February 26, 1959.
John J. Tomich, Joseph Dean Edwards, Jacques Smit, Dominic Morabito and Olin S. Nye for appellant.
John Nielsen and John P. Smith for Paul Tishman Co., Inc., and another, respondents.
Richard E. Shandell and Desmond T. Barry for Horn Construction Co., respondent.
Concur: Chief Judge CONWAY and Judges DESMOND, DYE, FULD, FROESSEL, VAN VOORHIS and BURKE.
Appeal dismissed, with costs, upon the ground that the sole question presented involves a nonreviewable exercise of discretion (Quick Service Novelty Corp. v. Scharf, 4 N Y 2d 799; Feingold v. City of New York, 4 N Y 2d 783). No opinion.
